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                              EXHIBIT 11
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                                                                              PRICE QUOTE


                                                                                        Quote 21462
                                                                          Quote Date: Jul 28, 2020
                                                                      Quote Expiration: Aug 31, 2020
                                                                         Sales Rep: Detroit IT Sales


      Company:                          Ship To:                       Bill To:

      Detroit Axle                      Detroit Axle                   Detroit Axle
      2000 Eight Mile Rd                9800 Mt. Elliot                2000 Eight Mile Rd
      Ferndale, MI 48220                Detroit, MI                    Ferndale, MI 48220



                                 Item                     Discount   Qty          Price     Subtotal




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                                                                              PRICE QUOTE


                                        LOW VOLTAGE CABLING (ESTIMATED)

            CAT6 Data Drop - Brakes                            %          5       $

            CAT6 Data Drop - Struts                            %          4       $

            CAT6 Data Drop - Shipping                          %         40       $

            CAT6 Data Drop - Office                            %          4

            CAT6 Data Drop - Bearings                          %          1       $

            CAT6 Data Drop - Control Arms                      %          4       $

            CAT6 Data Drop - Small Induction                   %          2       $
            Suspension

            CAT6 Data Drop - Access Points                     %         49       $

            Tripp Lite 9U Wall Mount Rack Enclosure            %          6       $
      IDF


            6 Strand 50/125 Indoor Armor Fiber Cable           %          6   $
      Estimated Cost


            Cat6 Snagless 3ft Ethernet Patch Cable             %        165           $
      IDF & MDF


            CAT6 Snagless 10ft Ethernet Patch Cable            %         24           $
      Workstations


            2U Horizontal Cable Management                     %         14           $
      IDF & MDF

            Tripp Lite 1400VA Rackmount UPS                    %          7   $
      IDF & MDF


            Tripp Lite 24U Server Cabinet                      %          1   $
      MDF

            Tripp Lite UPS Web Management Accessory            %          7       $

                                                                                           $31,959.79



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                                                                             PRICE QUOTE


                                        NETWORK INFRASTRUCTURE (HARDWARE)

           Cisco Meraki MX84 Cloud Managed Security                 %    1   $
           Appliance
      MDF

           Cisco Meraki MX84 Cloud Managed Security                 %    1   $
           Appliance
      MDF


           Ubiquiti UniFi Cloud Key Gen 2                           %    1       $
      MDF


           Ubiquiti UniFi Switch 16 XG                              %    1       $
      MDF

           Ubiquiti UniFi Redundant Power System                    %    1       $
      1xMDF

           Ubiquiti Unifi Switch Pro 24 POE                         %    7       $
      1xMDF
      6xIDF


           Ubiquiti UniFi Long Range Access Point                   %   49       $
      Warehouse


           Ubiquiti SFP+ MM Module (20 Pack)                        %    1       $

           Cloud Key G2 Rack Mount                                  %    1           $

           Professional Services (IDF)                              %    6       $
      Install Tripp Lite wall mount cabinet
      Install two (2) horizontal cable management
      Patch up to twenty four (24) patch cables
      Install and configure one (1) Ubiquiti UniFi Network Switch
      Install one (1) Tripp Lite UPS

           Professional Services (MDF)                              %    1   $
      Install Tripp Lite 24U cabinet
      Install four (4) horizontal cable management
      Patch up to twenty four (24) patch cables
      Install and configure two (2) Cisco Meraki MX firewalls
      Install and configure two (2) Ubiquiti UniFi Network Switch



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                                                                               PRICE QUOTE

      Install one (1) Tripp Lite UPS

                                                                                            $21,925.50

                                         SERVER INFASTRUCTURE (HARDWARE)

           Dell PowerEdge R440 (CTO)                            %          1   $
      (2x2.1Ghz,64GB,4x480GB, Server 2019, RPS, 3YR
      Warranty)

           Professional Services                                %         20       $
      Install Vmware ESXI on DA-MI-ESXI2
      Configure DA-MOI-ESXI2
      Create DA-MI-DC2
      Install Windows Server 2019
      Configure Server Roles
      Create DA-MI-APP2 virtual machine
      Create DA-MI-SQL2 virtual machine
      Create DA-MI-DEV virtual machine


                                                                                             $7,789.80

                                            WORKSTATIONS (HARDWARE)

           Dell Optiplex 3070 Micro                             %         22   $
      (i5/8GB/128GB/3YR


           Dell Optiplex Micro All In One Stand                 %         20           $

           Dell 22" E-Series Monitor                            %         20       $

           Dell 24" Professional Series Monitor                 %          2       $
      Shipping Office

           Professional Services (Per Computer)                 %         22       $

                                                                                            $23,670.51

                                           MOBILE HANDHELDS (HARDWARE)

           Zebra TC72 Android Scanner                           %         27   $

           5 Slot Charge Only Share Cradle                      %          5       $




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                                                                                                                            PRICE QUOTE


                                                                 SCALES (HARDWARE)

            Parcel Roller Top Scale                                                              %                 20          $

                                                      HANDHELD SCANNER (HARDWARE)

            Zebra Symbol DS4308-SR USB Kit 2D                                                    %                 20          $
            Imager

                                                          LABEL PRINTERS (HARDWARE)

            Zebra ZT140 Thermal Laser Printer                                                    %                  4      $

            Zebra ZP450 Worldship Printer                                                        %                 10          $

                                                                                                                            Discount            -$27,811.98
                                                                                                                            Subtotal             $85,345.60

                                                                                                                                Total         $85,345.60




     AGREED TO AND ACCEPTED:




                                  08/12/2020
     ___________________________ _____________________


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                       Signature Certificate
                  Document Ref.: S5NXY-73WZG-BWYM6-BX9CV

   Document signed by:

                     Luis Fonseca
                     E-mail:
                     lfonseca@detroitaxle.com
                     Signed via link

                     IP: 12.200.188.130     Date: 12 Aug 2020 15:47:27 UTC



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